            Case 8:15-bk-10966-MGW                Doc 356    Filed 09/23/21     Page 1 of 32


                                 UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF FLORIDA
                                          TAMPA DIVISION

  In re:                                              §     Case No. 15-10966-MGW
                                                      §
  The Health Support Network, Inc.                    §
                                                      §
                                                      §
                      Debtor(s)                       §

           CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
           CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                      AND APPLICATION TO BE DISCHARGED (TDR)

          Beth Ann Scharrer, chapter 7 trustee, submits this Final Account, Certification that the
  Estate has been Fully Administered and Application to be Discharged.

       1)       All funds on hand have been distributed in accordance with the Trustee’s Final
Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee’s control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

       2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
claims discharged without payment, and expenses of administration is provided below:



Assets Abandoned:             $2,450,290.63                 Assets Exempt:      NA
(without deducting any secured claims)



Total Distributions to                                      Claims Discharged
Claimants:                        $907,746.04               Without Payment:    NA

Total Expenses of
Administration:                   $1,236,864.92


       3)      Total gross receipts of $2,172,610.96 (see Exhibit 1), minus funds paid to the
debtor(s) and third parties of $28,000.00 (see Exhibit 2), yielded net receipts of $2,144,610.96
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW                 Doc 356   Filed 09/23/21    Page 2 of 32




                                   CLAIMS             CLAIMS            CLAIMS              CLAIMS
                                 SCHEDULED           ASSERTED          ALLOWED               PAID
  Secured Claims
  (from Exhibit 3)               $2,698,000.43        $2,002,854.31            $0.00               $0.00
  Priority Claims:
      Chapter 7
      Admin. Fees and                     NA          $1,236,864.42    $1,236,864.42      $1,236,864.92
      Charges
       (from Exhibit 4)
      Prior Chapter
      Admin. Fees and                     NA                 $0.00             $0.00               $0.00
      Charges (from
      Exhibit 5)
      Priority
      Unsecured                    $80,524.25           $50,204.08        $47,067.76         $47,067.76
      Claims
      (From Exhibit 6)
  General Unsecured
  Claims (from                    $969,012.36         $4,922,700.87    $4,447,028.87        $860,678.28
  Exhibit 7)
           Total
     Disbursements               $3,747,537.04        $8,212,623.68    $5,730,961.05      $2,144,610.96


        4). This case was originally filed under chapter 7 on 10/30/2015. The case was pending
  for 71 months.

       5). All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

        6). An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9.

       Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

         Dated: 09/03/2021                                 By:   /s/ Beth Ann Scharrer
                                                                 Trustee




  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW                Doc 356         Filed 09/23/21       Page 3 of 32


                                                 EXHIBITS TO
                                                FINAL ACCOUNT

 EXHIBIT 1 – GROSS RECEIPTS

                        DESCRIPTION                                       UNIFORM                           AMOUNT
                                                                         TRAN. CODE                        RECEIVED
Artwork                                                                   1129-000                           $2,235.50
Bentley & Bruning - Trust Account                                         1129-000                           $9,189.57
2015 Year End Grant from Gerald and Karen Kolschowsky                     1229-000                           $1,000.00
Foundation, Inc.
Kawai GS-30 gloss black piano. Serial number 1252780.                     1229-000                           $1,348.56
Liberty Mutual refund                                                     1229-000                             $879.00
Matching grant funds in support of donations made by Aetna                1229-000                             $436.80
corporation.
Refund from overpayment of FSA administration fee                         1229-000                              $21.53
COA against GCCF, Pritchett, Brady, CSC, and Lockaby.                     1249-000                         $262,500.00
Settled. COA re: Defamation, civil conspiracy, Breach of
fiducia
Potential COA against accountants for malpractice.                        1249-000                         $195,000.00
Potential D/O insurance claim.                                            1249-000                        $1,700,000.00
TOTAL GROSS RECEIPTS                                                                                      $2,172,610.96

 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

 EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

               PAYEE                                 DESCRIPTION                       UNIFOR               AMOUNT
                                                                                          M                    PAID
                                                                                        TRAN.
                                                                                        CODE
Brides Against Breast Cancer            Funds to Third Parties                         8500-002              $3,000.00
Estate of Brides Against Breast         Funds to Third Parties                         8500-002             $25,000.00
Cancer
TOTAL FUNDS PAID TO                                                                                         $28,000.00
DEBTOR AND THIRD PARTIES


 EXHIBIT 3 – SECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM               CLAIMS               CLAIMS   CLAIMS                CLAIMS
NUMBER                            TRAN. CODE          SCHEDULED             ASSERTED ALLOWED                   PAID
     3        Sarasota County        4700-000                    $0.00        $2,854.31           $0.00           $0.00
              Tax Collector
     26       BMO Harris             4110-000          $2,686,171.93       $2,000,000.00          $0.00           $0.00
              Bank, N.A.
              BMO Harris             4110-000                    $0.00             $0.00          $0.00           $0.00
              Bank, N.A.
              Lakewood Ranch         4110-000              $11,828.50              $0.00          $0.00           $0.00
              Corporate Park


UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW             Doc 356    Filed 09/23/21        Page 4 of 32


              Machinery             4110-000             $0.00               $0.00        $0.00         $0.00
              Finance
              Resources, LLC
              U.S. Bank             4110-000             $0.00               $0.00        $0.00         $0.00
              Equipment
              Finance
TOTAL SECURED CLAIMS                             $2,698,000.43      $2,002,854.31         $0.00         $0.00


 EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

       PAYEE               UNIFORM           CLAIMS           CLAIMS             CLAIMS             CLAIMS
                          TRAN. CODE      SCHEDULED         ASSERTED           ALLOWED                PAID
Andrea P. Bauman,            2100-000              NA             $928.43            $928.43         $928.43
Trustee
Beth Ann Scharrer,           2100-000              NA        $86,659.90         $86,659.90         $86,659.90
Trustee
Claim Amount,                2200-000              NA            $3,845.03       $3,845.03          $3,845.03
Trustee
Archive Corporation          2410-000              NA            $1,085.89       $1,085.89          $1,085.89
Pinnacle Bank                2600-000              NA        $21,377.81         $21,377.81         $21,377.81
Union Bank                   2600-000              NA              $30.00             $30.00          $30.00
E-HOUNDS, INC                2990-000              NA            $5,150.00       $5,150.00          $5,150.00
Southern Document            2990-000              NA            $2,114.79       $2,114.79          $2,114.79
Services (SDS)
Burnett Law (f/k/a           3210-000              NA        $52,500.00         $52,500.00         $52,500.00
Burnett Wilson
Reeder), Attorney for
Trustee
Cimo, Mazer Mark             3210-000              NA        $36,590.40         $36,590.40         $36,590.40
PLLC, Attorney for
Trustee
Claim Amount,                3210-000              NA        $15,064.36         $15,064.36         $15,064.36
Attorney for Trustee
Genovese Joblove &           3210-000              NA       $294,697.01        $294,697.01        $294,697.01
Battista, PA, Attorney
for Trustee
Jennis Law Firm,             3210-000              NA        $93,153.50         $93,153.50         $93,153.50
Attorney for Trustee
Jennis Law Firm, P.A.        3210-000              NA       $264,456.25        $264,456.25        $264,456.25
Trust Account,
Attorney for Trustee
Robert V. Williams           3210-000              NA        $43,266.50         $43,266.50         $43,266.50
(Receiver for Jennis &
Bowen PA), Attorney
for Trustee
Ver Ploeg &                  3210-000              NA       $151,087.50        $151,087.50        $151,087.50
Lumpkin, PA,
Attorney for Trustee
Burnett Law (f/k/a           3220-000              NA        $26,529.67         $26,529.67         $26,529.67
Burnett Wilson

UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW              Doc 356     Filed 09/23/21            Page 5 of 32


Reeder), Attorney for
Trustee
Claim Amount,                 3220-000              NA              $432.69             $432.69            $432.69
Attorney for Trustee
Jennis & Bowen, P.A.,         3220-000              NA              $246.38             $246.38            $246.38
Attorney for Trustee
Jennis Law Firm,              3220-000              NA              $822.04             $822.04            $822.04
Attorney for Trustee
Robert V. Williams            3220-000              NA              $676.50             $676.50            $676.50
(Receiver for Jennis &
Bowen PA), Attorney
for Trustee
Ver Ploeg &                   3220-000              NA          $1,416.04             $1,416.04          $1,416.04
Lumpkin, PA,
Attorney for Trustee
Claim Amount,                 3410-000              NA        $127,636.60        $127,636.60           $127,636.60
Accountant for
Trustee
Claim Amount,                 3420-000              NA              $582.13             $582.13            $582.13
Accountant for
Trustee
Moecker Auctions,             3610-000              NA              $865.00             $865.00            $865.50
Inc., Auctioneer for
Trustee
MOEKER                        3711-000              NA          $1,050.00             $1,050.00          $1,050.00
AUCTIONS, INC.,
Appraiser for Trustee
WGK-ADR Mediators             3721-000              NA          $4,600.00             $4,600.00          $4,600.00
and Arbitrators,
Arbitrator/Mediator
for Trustee
TOTAL CHAPTER 7 ADMIN. FEES AND                     NA       $1,236,864.42      $1,236,864.42         $1,236,864.92
CHARGES


 EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
 NONE


 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

 CLAIM           CLAIMANT           UNIFORM          CLAIMS            CLAIMS            CLAIMS          CLAIMS
NUMBER                             TRAN. CODE     SCHEDULED          ASSERTED          ALLOWED             PAID
     24       Carl Ritter            5300-000               $0.00     $12,850.00          $9,713.68      $9,713.68
              Florida U.C.           5800-000               $0.00        $378.00            $378.00        $378.00
              Fund
              Alabama                5800-000         $4,459.24               $0.00           $0.00          $0.00
              Department of
              Revenue
              Arkansas Dept. of      5800-000             $559.65             $0.00           $0.00          $0.00
              Revenue
              California             5800-000        $26,967.74               $0.00           $0.00          $0.00

UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW           Doc 356     Filed 09/23/21      Page 6 of 32


              Franchise Tax
              Board
              Colorado Dept. of   5800-000         $6,416.06         $0.00          $0.00   $0.00
              Revenue
              Connecticut Dept.   5800-000         $1,494.69         $0.00          $0.00   $0.00
              of Revenue
              District of         5800-000             $594.37       $0.00          $0.00   $0.00
              Columbia Dept.
              of Revenue
              Florida             5800-000             $105.70       $0.00          $0.00   $0.00
              Department of
              Revenue
              Georgia Dept. of    5800-000         $1,588.08         $0.00          $0.00   $0.00
              Revenue
              Idaho State Tax     5800-000             $311.82       $0.00          $0.00   $0.00
              Commission
              Illinois Dept. of   5800-000               $0.00       $0.00          $0.00   $0.00
              Revenue
              Kansas Dept. of     5800-000             $931.91       $0.00          $0.00   $0.00
              Revenue
              Kentucky Dept.      5800-000         $1,428.30         $0.00          $0.00   $0.00
              of Revenue
              Louisiana Dept.     5800-000               $0.00       $0.00          $0.00   $0.00
              of Revenue
              Maine Dept. of      5800-000             $542.99       $0.00          $0.00   $0.00
              Revenue
              Maryland            5800-000             $525.12       $0.00          $0.00   $0.00
              Comptroller
              Michigan Dept. of   5800-000         $2,139.63         $0.00          $0.00   $0.00
              Treasury
              Mississippi Dept.   5800-000             $628.51       $0.00          $0.00   $0.00
              of Revenue
              Missouri Dept. of   5800-000         $8,586.19         $0.00          $0.00   $0.00
              Revene
              Nebraska Dept. of   5800-000               $0.00       $0.00          $0.00   $0.00
              Revenue
              Nevada Dept. of     5800-000         $2,857.71         $0.00          $0.00   $0.00
              Taxation
              New Mexico          5800-000         $1,122.73         $0.00          $0.00   $0.00
              Dept. of Revenue
              New York Dept.      5800-000         $2,322.73         $0.00          $0.00   $0.00
              of Taxation
              North Dakota        5800-000             $240.94       $0.00          $0.00   $0.00
              State Tax
              Commissioner
              Oklahoma Tax        5800-000         $2,587.97         $0.00          $0.00   $0.00
              Commission
              Pennsylvania        5800-000               $0.00       $0.00          $0.00   $0.00
              Dept. of Revenue
              Sarasota County     5800-000               $0.00       $0.00          $0.00   $0.00
              Tax Collector
UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW             Doc 356     Filed 09/23/21          Page 7 of 32


              South Carolina       5800-000          $2,520.67             $0.00          $0.00        $0.00
              Dept. of Revenue
              Tennessee Dept.      5800-000              $555.28           $0.00          $0.00        $0.00
              of Revenue
              United States        5800-000                $0.00       $4,119.35       $4,119.35    $4,119.35
              Treasury
              United States        5800-000                $0.00      $32,814.73      $32,814.73   $32,814.73
              Treasury
              United States        5800-000                $0.00         $42.00          $42.00       $42.00
              Treasury
              Utah State Tax       5800-000          $1,522.00             $0.00          $0.00        $0.00
              Commission
              Vermont Dept. of     5800-000              $196.35           $0.00          $0.00        $0.00
              Taxes
              Virginia Dept. of    5800-000          $7,963.38             $0.00          $0.00        $0.00
              Taxation
              Washington Dept.     5800-000          $1,209.60             $0.00          $0.00        $0.00
              of Revenue
              Wisconsin Dept.      5800-000                $0.00           $0.00          $0.00        $0.00
              of Revenue
              Wyoming Dept.        5800-000              $144.89           $0.00          $0.00        $0.00
              of Revenue
TOTAL PRIORITY UNSECURED CLAIMS                     $80,524.25        $50,204.08      $47,067.76   $47,067.76


 EXHIBIT 7 – GENERAL UNSECURED CLAIMS

 CLAIM          CLAIMANT           UNIFORM         CLAIMS            CLAIMS           CLAIMS        CLAIMS
NUMBER                            TRAN. CODE    SCHEDULED          ASSERTED         ALLOWED           PAID
     1        Origami Owl          7100-000              $0.00        $350.00             $0.00        $0.00
     2        Pitney Bowes         7100-000              $0.00        $989.22          $989.22       $191.46
              Global Financial
              Services
     4        Renee VanPatten      7100-000              $0.00        $140.00             $0.00        $0.00
              Photography
     5        Chloe and Isabel     7100-000              $0.00        $300.00             $0.00        $0.00
     6        Mary Kay             7100-000              $0.00        $150.00             $0.00        $0.00
     7        Jani King            7100-000         $1,373.00        $1,716.00        $1,716.00      $332.12
              Cleaners
     8        Penske Truck         7100-000        $17,293.00       $16,359.53       $16,359.53     $3,166.23
              Leasing Co, L.P.
     9        Stan Heinz           7100-000         $1,511.25        $1,511.25        $1,511.25      $292.49
     10       Capital One Bank     7100-000         $1,297.35        $1,677.97        $1,677.97      $324.75
              (USA), N.A.
     11       Palm Printing        7100-000         $2,200.00        $3,288.54        $3,288.54      $636.46
     12       It Works             7100-000              $0.00        $270.00             $0.00        $0.00
     13       Kerkering            7100-000              $0.00      $41,655.00            $0.00        $0.00
              Barberio & Co.
     14       Touch of             7100-000              $0.00        $300.00             $0.00        $0.00

UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW           Doc 356     Filed 09/23/21       Page 8 of 32


              Southern
              Weddings &
              Events
     15       Kaysha Weiner       7100-000              $0.00      $550.00           $0.00          $0.00
              Photography
     16       American            7100-000         $119.99         $363.36         $363.36        $70.32
              InfoSource LP as
              agent for
     18       Mary Kay            7100-000              $0.00      $300.00           $0.00          $0.00
    19-2      U.S. Bank           7100-000              $0.00    $59,629.34     $59,629.34     $11,540.67
              Equipment
              Finance
     20       Ward Group PR,      7100-000              $0.00         $0.00          $0.00          $0.00
              Inc.
     21       Aqua Plumbing       7100-000              $0.00     $1,232.00          $0.00          $0.00
              Services, Inc.
     22       Aqua Plumbing       7100-000        $5,306.00       $1,232.00      $1,232.00       $238.44
              Services, Inc.
     23       Michael's on East   7100-000              $0.00     $1,975.00      $1,975.00       $382.24
              - Catering &
              Ballroom
    24a       Carl Ritter         7100-000              $0.00 $3,542,921.79   $3,542,921.79   $685,697.33
     25       Lisa Schmit         7100-000              $0.00      $275.00           $0.00          $0.00
    26a       BMO Harris          7100-000              $0.00   $812,190.44    $812,190.44    $157,191.39
              Bank, N.A.
     27       Gulf Coast          7100-000              $0.00   $430,000.00          $0.00          $0.00
              Community
              Foundation
     28       Florida Power       7100-000        $1,110.78       $3,174.43      $3,174.43       $614.38
              and Light
     29       Deborah             7200-000              $0.00      $150.00           $0.00          $0.00
              Massingale
              Ward Group PR,      7100-000              $0.00         $0.00          $0.00          $0.00
              Inc.
              A Better Time DJ    7100-000         $100.00            $0.00          $0.00          $0.00
              A Tailored Day      7100-000             $50.00         $0.00          $0.00          $0.00
              Wedding & Event
              Prod.
              A.J. Photography    7100-000         $375.00            $0.00          $0.00          $0.00
              ABC's DJs           7100-000         $200.00            $0.00          $0.00          $0.00
              Absolutely          7100-000         $300.00            $0.00          $0.00          $0.00
              Unbelievable Ent.
              Accrinet            7100-000         $240.00            $0.00          $0.00          $0.00
              Corporation
              Advanced            7100-000        $1,064.50           $0.00          $0.00          $0.00
              Engineered
              Systems
              AdvoCare            7100-000         $300.00            $0.00          $0.00          $0.00
              AdvoCare            7100-000             $75.00         $0.00          $0.00          $0.00

UST Form 101-7-TDR (10/1/2010)
            Case 8:15-bk-10966-MGW           Doc 356     Filed 09/23/21    Page 9 of 32


              Advocare            7100-000         $275.00         $0.00         $0.00    $0.00
              Aerie at Eagle      7100-000             $75.00      $0.00         $0.00    $0.00
              Landing
              AM Resorts          7100-000       $13,000.00        $0.00         $0.00    $0.00
              Angela Divine       7100-000         $150.00         $0.00         $0.00    $0.00
              Photographyth
              ave South
              Animus-Art          7100-000         $360.00         $0.00         $0.00    $0.00
              Photography
              Apriori Beauty      7100-000         $550.00         $0.00         $0.00    $0.00
              Arbonne             7100-000         $175.00         $0.00         $0.00    $0.00
              Arizona Nights      7100-000         $125.00         $0.00         $0.00    $0.00
              Armbrust,           7100-000         $720.00         $0.00         $0.00    $0.00
              Dianand St. E.
              Aroma Coffee        7100-000         $670.85         $0.00         $0.00    $0.00
              Service
              Aviles, Arturo      7100-000         $400.00         $0.00         $0.00    $0.00
              Babe's Plumbing,    7100-000         $565.00         $0.00         $0.00    $0.00
              Inc.
              Bang for Your       7100-000         $100.00         $0.00         $0.00    $0.00
              Buck Mobile DJ
              Beachangel          7100-000         $450.00         $0.00         $0.00    $0.00
              Weddings
              Beautycounter       7100-000         $250.00         $0.00         $0.00    $0.00
              Bee Happy Life      7100-000         $300.00         $0.00         $0.00    $0.00
              Bee Photography,    7100-000         $300.00         $0.00         $0.00    $0.00
              LLC
              Belle Haven         7100-000        $1,294.91        $0.00         $0.00    $0.00
              Coutry Club
              Ben & Kelly         7100-000         $500.00         $0.00         $0.00    $0.00
              Photography
              Bentley &           7100-000         $238.00         $0.00         $0.00    $0.00
              Bruning, P.A.
              Bergman, Richard    7100-000       $46,875.00        $0.00         $0.00    $0.00
              B.
              Big Sky Travel      7100-000         $625.00         $0.00         $0.00    $0.00
              Source
              Biological Tree &   7100-000        $8,046.68        $0.00         $0.00    $0.00
              Landscape
              Services
              Black Pearl         7100-000         $300.00         $0.00         $0.00    $0.00
              Escape
              Blackbaud           7100-000        $4,146.13        $0.00         $0.00    $0.00
              Books with Lis      7100-000         $300.00         $0.00         $0.00    $0.00
              Boston Marriott     7100-000        $1,500.00        $0.00         $0.00    $0.00
              Boulevards of       7100-000         $350.00         $0.00         $0.00    $0.00
              Travel


UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW             Doc 356     Filed 09/23/21     Page 10 of 32


              Bridal Collection    7100-000        $1,000.00         $0.00         $0.00     $0.00
              Bridal Outlet Co.,   7100-000        $1,554.60         $0.00         $0.00     $0.00
              Inc.
              Brides Tailor        7100-000         $100.00          $0.00         $0.00     $0.00
              Butler               7100-000         $200.00          $0.00         $0.00     $0.00
              Productionsth
              Lane NE
              Cakery 26            7100-000         $175.00          $0.00         $0.00     $0.00
              Caroline Z           7100-000         $615.00          $0.00         $0.00     $0.00
              Photography
              Celebrate Your       7100-000         $962.50          $0.00         $0.00     $0.00
              Sexy
              Chase Music,         7100-000       $12,500.00         $0.00         $0.00     $0.00
              LLC
              Chloe and Isabel     7100-000         $525.00          $0.00         $0.00     $0.00
              Chloe and Isabel     7100-000         $150.00          $0.00         $0.00     $0.00
              Chloe and Isabel     7100-000         $100.00          $0.00         $0.00     $0.00
              Chloe and Isabel     7100-000         $300.00          $0.00         $0.00     $0.00
              Christian &          7100-000         $250.00          $0.00         $0.00     $0.00
              Johnson
              Citrus Blossom       7100-000         $350.00          $0.00         $0.00     $0.00
              Brand
              CLE Photobooth       7100-000         $300.00          $0.00         $0.00     $0.00
              Coca-Cola            7100-000        $1,734.48         $0.00         $0.00     $0.00
              Beverages
              Florida, LLC
              Cork's Catering      7100-000             $75.00       $0.00         $0.00     $0.00
              Cruise Planners      7100-000         $100.00          $0.00         $0.00     $0.00
              Cruise Planners      7100-000         $500.00          $0.00         $0.00     $0.00
              Custom               7100-000         $100.00          $0.00         $0.00     $0.00
              Alterations
              David Shaver         7100-000              $0.00       $0.00         $0.00     $0.00
              Destinations HD      7100-000         $300.00          $0.00         $0.00     $0.00
              DeTayls              7100-000         $200.00          $0.00         $0.00     $0.00
              Entertainment
              Group
              Dex Imaging, Inc.    7100-000              $0.00       $0.00         $0.00     $0.00
              Dillard's            7100-000        $1,500.00         $0.00         $0.00     $0.00
              DJ Experience        7100-000         $200.00          $0.00         $0.00     $0.00
              Dominion DJs         7100-000         $200.00          $0.00         $0.00     $0.00
              DryCleanBaltimo      7100-000         $325.00          $0.00         $0.00     $0.00
              re.com
              Elegant and          7100-000         $250.00          $0.00         $0.00     $0.00
              Special Occasions
              Elegant Wishes       7100-000         $200.00          $0.00         $0.00     $0.00
              and Events
              EMC Tickets          7100-000        $1,130.37         $0.00         $0.00     $0.00
UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW            Doc 356   Filed 09/23/21     Page 11 of 32


              Emily Avila         7100-000          $300.00       $0.00         $0.00     $0.00
              Photography
              Entertainment       7100-000          $550.00       $0.00         $0.00     $0.00
              Essentials
              Equity, Inc.        7100-000             $0.00      $0.00         $0.00     $0.00
              Essential           7100-000          $300.00       $0.00         $0.00     $0.00
              Bodywear
              Essential Details   7100-000          $350.00       $0.00         $0.00     $0.00
              Eternal Knot        7100-000          $500.00       $0.00         $0.00     $0.00
              Weddingsst Pl
              NE
              Faux Finish         7100-000          $100.00       $0.00         $0.00     $0.00
              Fifth Avenue        7100-000          $150.00       $0.00         $0.00     $0.00
              Collections
              First Tee Travel    7100-000          $315.00       $0.00         $0.00     $0.00
              & Promotions
              Foundation for      7100-000        $12,450.00      $0.00         $0.00     $0.00
              Dreams, Inc.
              Founders Club       7100-000          $500.00       $0.00         $0.00     $0.00
              Francis, The        7100-000         $9,780.74      $0.00         $0.00     $0.00
              Front Sight Focus   7100-000        $40,163.95      $0.00         $0.00     $0.00
              Frozen De'Lites     7100-000          $225.00       $0.00         $0.00     $0.00
              Fun Photo Events    7100-000          $300.00       $0.00         $0.00     $0.00
              Gator Air           7100-000          $753.57       $0.00         $0.00     $0.00
              Conditioningth
              St. E., Suite 1
              Gibson, Janie       7100-000          $200.00       $0.00         $0.00     $0.00
              Gonzalez-           7100-000          $125.00       $0.00         $0.00     $0.00
              Camacho, Brenda
              Green Apple         7100-000         $2,682.00      $0.00         $0.00     $0.00
              Catering, Inc.
              Gulf Coast          7100-000       $430,000.00      $0.00         $0.00     $0.00
              Community
              Foundation
              Gulfshore Media,    7100-000         $2,000.00      $0.00         $0.00     $0.00
              LLC
              Harris, David       7100-000          $200.00       $0.00         $0.00     $0.00
              HD Entertainment    7100-000          $200.00       $0.00         $0.00     $0.00
              Herald Tribune      7100-000          $840.42       $0.00         $0.00     $0.00
              Media Group
              HuB Studios         7100-000        $17,540.00      $0.00         $0.00     $0.00
              IGOR                7100-000          $300.00       $0.00         $0.00     $0.00
              Photography
              Instant Memories    7100-000          $100.00       $0.00         $0.00     $0.00
              Photobooth
              International       7100-000          $320.00       $0.00         $0.00     $0.00
              Productions


UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW            Doc 356     Filed 09/23/21     Page 12 of 32


              Isagenix            7100-000         $300.00          $0.00         $0.00     $0.00
              It Works            7100-000         $150.00          $0.00         $0.00     $0.00
              It Works            7100-000         $350.00          $0.00         $0.00     $0.00
              It Works            7100-000         $566.33          $0.00         $0.00     $0.00
              It Works            7100-000         $135.00          $0.00         $0.00     $0.00
              It Works            7100-000         $350.00          $0.00         $0.00     $0.00
              It Works            7100-000         $270.00          $0.00         $0.00     $0.00
              It Works            7100-000             $75.00       $0.00         $0.00     $0.00
              It Works            7100-000         $250.00          $0.00         $0.00     $0.00
              It Works            7100-000         $350.00          $0.00         $0.00     $0.00
              It Works            7100-000         $325.00          $0.00         $0.00     $0.00
              It Worksth ave      7100-000         $300.00          $0.00         $0.00     $0.00
              SW
              J Hilburn           7100-000         $225.00          $0.00         $0.00     $0.00
              J.Hilburn           7100-000         $200.00          $0.00         $0.00     $0.00
              Jamberry Nails      7100-000         $375.00          $0.00         $0.00     $0.00
              Jamberry Nails      7100-000         $325.00          $0.00         $0.00     $0.00
              Jamberry Nails      7100-000         $350.00          $0.00         $0.00     $0.00
              Jamberry Nails      7100-000         $100.00          $0.00         $0.00     $0.00
              Jamberry Nails      7100-000         $125.00          $0.00         $0.00     $0.00
              Jamberry Nails      7100-000         $150.00          $0.00         $0.00     $0.00
              Jamberry Nails      7100-000         $375.00          $0.00         $0.00     $0.00
              Jamberry Nailsth    7100-000         $175.00          $0.00         $0.00     $0.00
              St Apt. 1064
              Jamie Nicole        7100-000         $150.00          $0.00         $0.00     $0.00
              Krause
              Photography
              Jeunesse Ageless    7100-000         $150.00          $0.00         $0.00     $0.00
              Made Simple
              Jewelry In          7100-000         $135.00          $0.00         $0.00     $0.00
              Candles
              Jewelry in          7100-000         $325.00          $0.00         $0.00     $0.00
              Candles
              Joyce Factory       7100-000         $300.00          $0.00         $0.00     $0.00
              Direct
              Just Picture It     7100-000         $325.00          $0.00         $0.00     $0.00
              Kaiser, Cheryl      7100-000         $375.00          $0.00         $0.00     $0.00
              Kaysha Weiner       7100-000         $550.00          $0.00         $0.00     $0.00
              Photography
              Keep Collective     7100-000         $175.00          $0.00         $0.00     $0.00
              Keep Collective-    7100-000         $350.00          $0.00         $0.00     $0.00
              Kelly Bryan
              Kensington Floral   7100-000         $100.00          $0.00         $0.00     $0.00
              & Events
              Kerkering           7100-000       $39,126.10         $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW           Doc 356     Filed 09/23/21     Page 13 of 32


              Barberio & Co.
              Knot Wedding       7100-000       $33,320.00         $0.00         $0.00     $0.00
              Pages
              Kristine Mariee    7100-000         $150.00          $0.00         $0.00     $0.00
              LLC
              Lake Osprey        7100-000        $8,000.99         $0.00         $0.00     $0.00
              Villages, LLLP
              LeVel              7100-000         $250.00          $0.00         $0.00     $0.00
              Life Rich LLC      7100-000             $75.00       $0.00         $0.00     $0.00
              Lil Epic Event     7100-000         $525.00          $0.00         $0.00     $0.00
              Design
              Linda Lee -        7100-000        $1,350.00         $0.00         $0.00     $0.00
              Health Matters
              Lizzi Van Dess     7100-000         $325.00          $0.00         $0.00     $0.00
              Locked In          7100-000         $300.00          $0.00         $0.00     $0.00
              Photography
              LouLaRoe           7100-000         $150.00          $0.00         $0.00     $0.00
              Lularoe            7100-000         $300.00          $0.00         $0.00     $0.00
              LuLaRoe            7100-000         $300.00          $0.00         $0.00     $0.00
              LuLu Avenue        7100-000         $325.00          $0.00         $0.00     $0.00
              Magnificent        7100-000         $500.00          $0.00         $0.00     $0.00
              Events
              Make Up N More     7100-000         $100.00          $0.00         $0.00     $0.00
              (Doing
              Hair/Makeup)
              Makeup Eraser      7100-000         $300.00          $0.00         $0.00     $0.00
              Makeup Erasers     7100-000         $150.00          $0.00         $0.00     $0.00
              Marcie's Cupcake   7100-000         $250.00          $0.00         $0.00     $0.00
              Kitchen
              Mary Kay           7100-000         $150.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $125.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $350.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $150.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $270.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $170.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000             $83.34       $0.00         $0.00     $0.00
              Mary Kay           7100-000             $83.35       $0.00         $0.00     $0.00
              Mary Kay           7100-000             $83.31       $0.00         $0.00     $0.00
              Mary Kay           7100-000         $300.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $350.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $540.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $550.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $300.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $200.00          $0.00         $0.00     $0.00
              Mary Kay           7100-000         $300.00          $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW            Doc 356     Filed 09/23/21     Page 14 of 32


              Mary Kay            7100-000         $275.00          $0.00         $0.00     $0.00
              Mary Kay            7100-000         $250.00          $0.00         $0.00     $0.00
              Mary Kay            7100-000         $100.00          $0.00         $0.00     $0.00
              Mary Kay            7100-000         $300.00          $0.00         $0.00     $0.00
              Mary Kay            7100-000         $315.00          $0.00         $0.00     $0.00
              Mary Kay            7100-000         $300.00          $0.00         $0.00     $0.00
              Mavella             7100-000         $400.00          $0.00         $0.00     $0.00
              Memories            7100-000         $250.00          $0.00         $0.00     $0.00
              Wedding
              Planning
              Merritt, Lisa       7100-000         $417.00          $0.00         $0.00     $0.00
              Mialisia            7100-000         $300.00          $0.00         $0.00     $0.00
              VersaStyle
              Jewelry
              Michael's on East   7100-000        $1,975.00         $0.00         $0.00     $0.00
              - Catering &
              Ballroom
              Miche               7100-000         $300.00          $0.00         $0.00     $0.00
              My Click            7100-000         $125.00          $0.00         $0.00     $0.00
              Photobooth
              Nerium              7100-000         $182.00          $0.00         $0.00     $0.00
              Ohana Adventure     7100-000         $175.00          $0.00         $0.00     $0.00
              by Nancy Burney
              Orangetheory        7100-000         $300.00          $0.00         $0.00     $0.00
              Fitness
              Origami Owl         7100-000         $175.00          $0.00         $0.00     $0.00
              Origami Owl         7100-000         $300.00          $0.00         $0.00     $0.00
              Origami Owl         7100-000         $175.00          $0.00         $0.00     $0.00
              Origami Owl         7100-000         $175.00          $0.00         $0.00     $0.00
              Origami Owl         7100-000         $300.00          $0.00         $0.00     $0.00
              Origami Owlth       7100-000         $350.00          $0.00         $0.00     $0.00
              Ave
              Orsborn, John       7100-000         $200.00          $0.00         $0.00     $0.00
              Pampered Chef       7100-000         $300.00          $0.00         $0.00     $0.00
              Paparazzi $5        7100-000         $150.00          $0.00         $0.00     $0.00
              Accessories
              Paper Goodiez       7100-000         $150.00          $0.00         $0.00     $0.00
              Park Lane           7100-000         $350.00          $0.00         $0.00     $0.00
              Passion Parties-    7100-000             $87.50       $0.00         $0.00     $0.00
              Jennifer Adams
              Perfect Bride       7100-000         $800.00          $0.00         $0.00     $0.00
              Perfectly Posh      7100-000         $100.00          $0.00         $0.00     $0.00
              Pettit, Gail        7100-000         $180.00          $0.00         $0.00     $0.00
              Photo Booth         7100-000         $325.00          $0.00         $0.00     $0.00
              Group
              Pink Print          7100-000         $100.00          $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW           Doc 356   Filed 09/23/21     Page 15 of 32


              Photography
              Pink Zebra         7100-000         $250.00        $0.00         $0.00     $0.00
              Pitney Bowes       7100-000             $0.00      $0.00         $0.00     $0.00
              Global Financial
              Svc.
              Pitney Bowes       7100-000         $500.00        $0.00         $0.00     $0.00
              Purchase Power
              Pittsburgh DJ      7100-000         $375.00        $0.00         $0.00     $0.00
              Company
              Platinum Travel    7100-000         $350.00        $0.00         $0.00     $0.00
              Plexus             7100-000         $300.00        $0.00         $0.00     $0.00
              Poppy Floral       7100-000         $450.00        $0.00         $0.00     $0.00
              Posharazzi         7100-000         $250.00        $0.00         $0.00     $0.00
              Posharazzi Photo   7100-000         $300.00        $0.00         $0.00     $0.00
              Lounge
              Positive           7100-000        $3,048.25       $0.00         $0.00     $0.00
              Promotions, Inc.
              Pratt Abbott       7100-000         $300.00        $0.00         $0.00     $0.00
              Cleaners
              Premier Designs    7100-000         $100.00        $0.00         $0.00     $0.00
              Jewelry
              Premiere Global    7100-000         $155.43        $0.00         $0.00     $0.00
              Services
              Premium            7100-000        $4,109.49       $0.00         $0.00     $0.00
              Assignment
              Corporation
              Props!             7100-000         $300.00        $0.00         $0.00     $0.00
              Photobooth
              Pure Romance       7100-000         $150.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $158.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $300.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $100.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $175.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $200.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $300.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $270.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $100.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $300.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $150.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $350.00        $0.00         $0.00     $0.00
              Pure Romance       7100-000         $150.00        $0.00         $0.00     $0.00
              Pure Romance by    7100-000         $200.00        $0.00         $0.00     $0.00
              Heather Redding
              Pure Romance by    7100-000         $300.00        $0.00         $0.00     $0.00
              Meg
              Pure Romanceth     7100-000         $275.00        $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW            Doc 356     Filed 09/23/21     Page 16 of 32


              St SW
              Purmort & Martin    7100-000         $3,454.00        $0.00         $0.00     $0.00
              Insurance
              Agency, LLC
              Ranalla             7100-000          $150.00         $0.00         $0.00     $0.00
              Photography
              Raymond James       7100-000        $22,871.85        $0.00         $0.00     $0.00
              Renee VanPatten     7100-000          $140.00         $0.00         $0.00     $0.00
              Photography
              Retro Peacock       7100-000          $300.00         $0.00         $0.00     $0.00
              Photog
              Ritter, Carl W.     7100-000              $0.00       $0.00         $0.00     $0.00
              Ritz-Carlton        7100-000        $17,787.77        $0.00         $0.00     $0.00
              Sarasota
              Rockstar Tan        7100-000             $75.00       $0.00         $0.00     $0.00
              Rodan & Fields      7100-000          $350.00         $0.00         $0.00     $0.00
              Rodan & Fields      7100-000          $350.00         $0.00         $0.00     $0.00
              Rodan & Fieldsth    7100-000          $250.00         $0.00         $0.00     $0.00
              St SE
              Rose LifeCycle      7100-000          $300.00         $0.00         $0.00     $0.00
              Ceremonies
              Ruby Ribbon         7100-000          $300.00         $0.00         $0.00     $0.00
              Scentsy             7100-000          $325.00         $0.00         $0.00     $0.00
              Shapiro, Robin      7100-000          $250.00         $0.00         $0.00     $0.00
              Sights and          7100-000         $4,930.00        $0.00         $0.00     $0.00
              Sounds A.V., Inc.
              Silverman, Anne     7100-000          $675.00         $0.00         $0.00     $0.00
              Simply Perfect      7100-000          $225.00         $0.00         $0.00     $0.00
              Java
              Sir Speedy          7100-000         $4,841.98        $0.00         $0.00     $0.00
              Smile Time Photo    7100-000          $325.00         $0.00         $0.00     $0.00
              Booth
              Southern            7100-000          $300.00         $0.00         $0.00     $0.00
              Elegance Events
              SPX Realty          7100-000          $600.00         $0.00         $0.00     $0.00
              Stategic Network,   7100-000         $4,084.00        $0.00         $0.00     $0.00
              LLCrd Ave. W.
              Stella & Dot        7100-000          $540.00         $0.00         $0.00     $0.00
              Stella & Dot        7100-000          $325.00         $0.00         $0.00     $0.00
              Stella & Dot        7100-000          $250.00         $0.00         $0.00     $0.00
              Studio D            7100-000          $500.00         $0.00         $0.00     $0.00
              Photography
              Styled by Ashley    7100-000          $175.00         $0.00         $0.00     $0.00
              Mason
              SunTrust Bank       7100-000       $103,588.68        $0.00         $0.00     $0.00
              Sweet Melissa       7100-000          $100.00         $0.00         $0.00     $0.00
              Photography
UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW            Doc 356     Filed 09/23/21     Page 17 of 32


              Thirty One Gifts    7100-000         $350.00          $0.00         $0.00     $0.00
              Thirty One Gifts    7100-000         $350.00          $0.00         $0.00     $0.00
              Thirty One Gifts    7100-000             $75.00       $0.00         $0.00     $0.00
              Thirty One          7100-000         $100.00          $0.00         $0.00     $0.00
              Giftsth Av S
              Thirty-One Gifts    7100-000         $200.00          $0.00         $0.00     $0.00
              Thiry-One           7100-000         $150.00          $0.00         $0.00     $0.00
              Thunderkiss         7100-000         $225.00          $0.00         $0.00     $0.00
              Entertainment
              Touch of            7100-000         $300.00          $0.00         $0.00     $0.00
              Southern
              Weddings &
              Events
              Tres Belle          7100-000         $200.00          $0.00         $0.00     $0.00
              Wedding and
              Events
              True Bliss Travel   7100-000         $375.00          $0.00         $0.00     $0.00
              Tupperware          7100-000         $150.00          $0.00         $0.00     $0.00
              Tupperware          7100-000         $350.00          $0.00         $0.00     $0.00
              Tupperware-         7100-000             $75.00       $0.00         $0.00     $0.00
              Meredith Pond
              U.S. Bancorp        7100-000         $552.45          $0.00         $0.00     $0.00
              Equipment
              Finance, Inc.
              Unishippers         7100-000         $183.57          $0.00         $0.00     $0.00
              URE Events          7100-000         $200.00          $0.00         $0.00     $0.00
              ValleyCrest         7100-000        $2,400.00         $0.00         $0.00     $0.00
              Landscape
              Maintenance
              Van Dyke Church     7100-000        $1,300.38         $0.00         $0.00     $0.00
              Vento, Mariann      7100-000         $320.00          $0.00         $0.00     $0.00
              K.
              Vogue City          7100-000         $175.00          $0.00         $0.00     $0.00
              Photobooth
              Waste               7100-000         $666.52          $0.00         $0.00     $0.00
              Management of
              Sarasota
              Wedding DJ          7100-000         $200.00          $0.00         $0.00     $0.00
              Wedding DJs of      7100-000         $200.00          $0.00         $0.00     $0.00
              Maine
              Where's the         7100-000         $350.00          $0.00         $0.00     $0.00
              Party?
              Willow and Vine     7100-000         $325.00          $0.00         $0.00     $0.00
              Event Designst
              Ave NE
              WRBQ-FM             7100-000        $1,500.00         $0.00         $0.00     $0.00
              Write It Out        7100-000         $300.00          $0.00         $0.00     $0.00
              WWSB TVth St.       7100-000        $2,000.00         $0.00         $0.00     $0.00

UST Form 101-7-TDR (10/1/2010)
           Case 8:15-bk-10966-MGW           Doc 356   Filed 09/23/21        Page 18 of 32


              Younique           7100-000          $100.00          $0.00          $0.00          $0.00
              Younique           7100-000          $150.00          $0.00          $0.00          $0.00
              Younique           7100-000          $150.00          $0.00          $0.00          $0.00
              Younique           7100-000          $100.00          $0.00          $0.00          $0.00
              Younique           7100-000          $350.00          $0.00          $0.00          $0.00
              Your Big Day       7100-000          $270.00          $0.00          $0.00          $0.00
              Your Perfect Day   7100-000          $250.00          $0.00          $0.00          $0.00
TOTAL GENERAL UNSECURED CLAIMS                  $969,012.36 $4,922,700.87   $4,447,028.87   $860,678.28




UST Form 101-7-TDR (10/1/2010)
                                                            Case 8:15-bk-10966-MGW                      Doc 356
                                                                                                         FORM 1
                                                                                                                          Filed 09/23/21               Page 19 of 32
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                             Page No:    1              Exhibit 8
                                                                                             ASSET CASES

Case No.:                     15-10966-MGW                                                                                                                 Trustee Name:                              Beth Ann Scharrer
Case Name:                    THE HEALTH SUPPORT NETWORK, INC.                                                                                             Date Filed (f) or Converted (c):           10/30/2015 (f)
For the Period Ending:        9/3/2021                                                                                                                     §341(a) Meeting Date:                      12/03/2015
                                                                                                                                                           Claims Bar Date:                           04/11/2016

                                  1                                               2                              3                                 4                        5                                         6

                         Asset Description                                     Petition/                 Estimated Net Value                    Property               Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                     Unscheduled                (Value Determined by                    Abandoned              Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                  Value                          Trustee,                   OA =§ 554(a) abandon.         the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

 Ref. #
1       Potential D/O insurance claim.                               (u)                 $0.00                         $1,675,000.00                                    $1,700,000.00                                             FA
2      Commercial real property located at 5481                                $2,431,200.00                                     $0.00            OA                              $0.00                                           FA
       Communications Parkway, Lakewood Ranch,
       Florida 34240 (2015 tax assessed value listed)
Asset Notes:     property was foreclosed on in 2016
3        SunTrust Bank - Primary Business Checking                                    Unknown                                    $0.00                                            $0.00                                           FA
         #2437
4        SunTrust Bank - Total Business Banking #9920                                    $0.00                                   $0.00                                            $0.00                                           FA
5        SunTrust Bank - Business Money Market                                           $0.00                                   $0.00                                            $0.00                                           FA
         Checking #9471
6        Stifel Prestige Investment Account 8358                                        $21.53                                $21.53                                              $0.00                                           FA
7        Bentley & Bruning - Trust Account                                            $6,854.45                            $6,488.57                                        $9,189.57                                             FA
8        Security Deposits                                                               $0.00                                   $0.00                                            $0.00                                           FA
9        Receivable due from Carl Ritter                                          $19,069.10                                     $0.00                                            $0.00                                           FA
Asset Notes:       Asset improperly included in this case. Should have been listed in related case of Brides Against Breast Cancer, 15-10969.
10       Websites: www.healthsupportnetwork.org and                                   Unknown                                    $0.00                                            $0.00                                           FA
         www.centerforbuildinghope.org
11       Trademark, Reg. No. 4,825,383                                                Unknown                                    $0.00                                            $0.00                                           FA
12       Office equipment and supplies                                                Unknown                                    $0.00                                            $0.00                                           FA
13       Artwork                                                                      Unknown                              $5,000.00                                        $2,235.50                                             FA
Asset Notes:       To sell artwork at auction in Sept.
14       Matching grant funds in support of donations                (u)                 $0.00                               $436.80                                            $436.80                                           FA
         made by Aetna corporation.
15       Refund from overpayment of FSA                              (u)                 $0.00                                $21.53                                             $21.53                                           FA
         administration fee
16       Liberty Mutual refund                                       (u)                 $0.00                               $879.00                                            $879.00                                           FA
17       2015 Year End Grant from Gerald and Karen                   (u)                 $0.00                             $1,000.00                                        $1,000.00                                             FA
         Kolschowsky Foundation, Inc.
18     Potential COA against accountants for                         (u)                 $0.00                       $10,000,000.00                                       $195,000.00                                             FA
       malpractice.
Asset Notes:     Compromise motion filed 5/19.           Doc. 328.
                                                        Case 8:15-bk-10966-MGW                          Doc 356
                                                                                                         FORM 1
                                                                                                                          Filed 09/23/21                 Page 20 of 32
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    2              Exhibit 8
                                                                                             ASSET CASES

Case No.:                     15-10966-MGW                                                                                                                   Trustee Name:                               Beth Ann Scharrer
Case Name:                    THE HEALTH SUPPORT NETWORK, INC.                                                                                               Date Filed (f) or Converted (c):            10/30/2015 (f)
For the Period Ending:        9/3/2021                                                                                                                       §341(a) Meeting Date:                       12/03/2015
                                                                                                                                                             Claims Bar Date:                            04/11/2016

                                  1                                               2                               3                                  4                        5                                         6

                         Asset Description                                     Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                     Unscheduled                (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                  Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

19     Potential COA against Sarasota newspaper,                   (u)                   $0.00                                   $1.00                                             $0.00                                            FA
       reporters, editors. Re: defamation.
Asset Notes:      To pursue potential malpractice cause of action. Value at $1 for reporting requirements only.
20      Kawai GS-30 gloss black piano. Serial number               (u)                  $0.00                              $1,500.00                                           $1,348.56                                            FA
        1252780.
Asset Notes:       Piano consigned to Randy's Wholesale Pianos (see doc. 49). Randy Sheets filed Chapter 7 for Randy's Pianos 1/3/17 (17-00010). This piano was not among the assets recovered by the
                   Chapter 7 Trustee in the Randy's Pianos case. Piano was sold out of trust by Randy Sheets. Randy Sheets has been charged with grand theft, grand theft and a scheme to defraud. His trial is
                   in 2018. Randy's Pianos is an administratively insolvent Chapter 7 case and the estate has no potential recovery on this asset.


                Note: in connection with criminal action against Randy Sheets, he has been paying restitution to creditors, including this Debtor.
21      COA against several parties for Defamation,              (u)                 $0.00                                     $1.00                                               $0.00                                            FA
22     COA against GCCF, Pritchett, Brady, CSC, and                (u)                  $0.00                           $262,500.00                                         $262,500.00                                             FA
       Lockaby. Settled. COA re: Defamation, civil
       conspiracy, Breach of fiduciary duties, lender
       liability, conspiracy to breach fiduciary duties.
Asset Notes:       See Docs. 334, 338.


TOTALS (Excluding unknown value)                                                                                                                                                                       Gross Value of Remaining Assets
                                                                                $2,457,145.08                         $11,952,849.43                                       $2,172,610.96                                       $0.00




     Major Activities affecting case closing:
      05/28/2021      Received additional restitution funds from Clerk of Court.
      05/28/2021      Received overpayment from Ward Group, PR Inc. TFR to be processed after deposits checks clear bank.
      04/15/2021      Received additional restitution funds from Clerk of Court.
      04/08/2021      Received additional restitution funds from Clerk of Court.
      02/03/2021      Received additional restitution funds from Clerk of Court.
      10/27/2020      Received additional restitution funds from Clerk of Court.
      10/02/2020      Received final payment towards compromise.
      09/21/2020      Received 2 additional payments towards compromise.
      09/15/2020      Received first payment towards compromise.
      09/14/2020      Received additional restitution funds from Clerk of Court.
                                                     Case 8:15-bk-10966-MGW                           Doc 356
                                                                                                       FORM 1
                                                                                                                        Filed 09/23/21                Page 21 of 32
                                                                          INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    3              Exhibit 8
                                                                                           ASSET CASES

Case No.:                  15-10966-MGW                                                                                                                    Trustee Name:                               Beth Ann Scharrer
Case Name:                 THE HEALTH SUPPORT NETWORK, INC.                                                                                                Date Filed (f) or Converted (c):            10/30/2015 (f)
For the Period Ending:     9/3/2021                                                                                                                        §341(a) Meeting Date:                       12/03/2015
                                                                                                                                                           Claims Bar Date:                            04/11/2016

                               1                                                2                              3                                  4                          5                                        6

                       Asset Description                                     Petition/                 Estimated Net Value                    Property                 Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                     Unscheduled                (Value Determined by                    Abandoned                Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                  Value                          Trustee,                   OA =§ 554(a) abandon.           the Estate
                                                                                                     Less Liens, Exemptions,
                                                                                                        and Other Costs)

     06/28/2020     Compromise motion filed re: Gulf coast Community Foundation et. al.
     05/20/2020     Received additional restitution funds from Clerk of Court.
     05/06/2020     Received additional restitution funds from Clerk of Court.
     04/22/2020     Litigation ongoing with defamation claim. Hearing scheduled for May.
     03/26/2020     Received additional restitution funds from Clerk of Court.
     02/19/2020     Received restitution from Randall Sheets (hired to sell piano on consignment. Sold piano out of trust). Restitution received from Clerk of Court (Pinellas County) in connection with
                    Mr. Sheets' criminal proceedings.
     08/02/2019     Order on professional fee apps entered (Doc. 333).
     07/02/2019     Compromise motion re: Kerkering Barberio & Co. granted.
     05/29/2019     Compromise motion re: Kerkering Barberio & Co. filed.
     05/14/2019     Compromise motion drafts circulating.
     02/15/2019     Settlement discussions ongoing.
     11/28/2018     Mediation conducted. No resolution as of mediation date.
     08/15/2018     Ongoing discussions re: mediation.
     07/20/2018     Mediation postponed b/c of death of participant.
     07/01/2018     Mediation to be held July 20, 2018
     05/27/2018     Motion for interim distribution filed.
     04/06/2018     Meeting scheduled with attys re: asset 19 following entry of order re: extension of time.
     03/14/2018     Mediation scheduled re: accounting matter. Set for 4/27/17
     03/14/2018     Mediation to be rescheduled.
     03/07/2018     Motion to limit notice filed. To be heard on 3.9.18.
     12/19/2017     Motion re: mediation filed re: accounting claim. Doc. 253.
     11/30/2017     Order disallowing Claim 27 entered. See Docs. 205, 249. Also, administrative claims bar date established. See Docs. 239, 250.
     11/29/2017     Order on last objection to claim (Claim 27) entered. Doc. 249. All filed claims resolved.
     10/05/2017     Orders sustaining objection to claims entered. Docs. 213-224.
     08/31/2017     Omnibus objection to claims filed. Doc. 205
     08/31/2017     Orders approving professional fees entered. Doc. 206
     08/08/2017     Compromise re: D&O matter approved. Motion granted. Doc. 199.
     07/27/2017     Fee applications for professionals filed.
     06/23/2017     Motion to approve compromise filed re: D&O claim.
     06/22/2017     M/compromise controversy re: D&O matter filed following mediation.
     06/03/2017     Motion to approve compromise re: insurance claim to be filed.
     04/26/2017     2-day mediation concluded w/Burton Wiand re: D&O matter.
                                                      Case 8:15-bk-10966-MGW                            Doc 356
                                                                                                         FORM 1
                                                                                                                           Filed 09/23/21                Page 22 of 32
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                  Page No:    4              Exhibit 8
                                                                                            ASSET CASES

Case No.:                   15-10966-MGW                                                                                                                      Trustee Name:                                Beth Ann Scharrer
Case Name:                  THE HEALTH SUPPORT NETWORK, INC.                                                                                                  Date Filed (f) or Converted (c):             10/30/2015 (f)
For the Period Ending:      9/3/2021                                                                                                                          §341(a) Meeting Date:                        12/03/2015
                                                                                                                                                              Claims Bar Date:                             04/11/2016

                                1                                                 2                              3                                   4                          5                                         6

                       Asset Description                                      Petition/                  Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                      Unscheduled                 (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                   Value                           Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                       Less Liens, Exemptions,
                                                                                                          and Other Costs)

     02/16/2017     Mediation set for 4-25/4-26
     02/13/2017     Notice re: mediation re: D&O filed.
     12/05/2016     Order entered directing parties to mediation.
     09/22/2016     Motion to compel regarding mediation filed.
     08/17/2016     Motion to sell artwork filed, application to employ auctioneer filed.
     07/27/2016     Employed special defense counsel re: insurance claim.
     06/30/2016
                    I was appointed as Successor Trustee I this case. I received funds in the amount of $6,488.57 from Andrea Bauman, the Original Trustee. I received these funds directly from the
                    Original Trustee’s financial institution. I have reviewed a Form 2 and/or Form 1 provided by the Original Trustee, as well as all pleadings in this case. The transactions and assets on the
                    Forms 2 and/or Form 1 provided by the Original Trustee are reflected on the Forms 2 and/or Form 1 that I have generated as Successor Trustee in this case.
     06/01/2016     General counsel now employed for successor Trustee. Also employed counsel to assist with potential insurance claims.
     06/01/2016     To have auction for artwork. Should be in Sept.
     05/27/2016     Employed special counsel to assist with insurance claim.
     05/03/2016     Appointed as successor trustee. Employed special counsel to pursue insurance claim.


Initial Projected Date Of Final Report (TFR):           03/15/2018                            Current Projected Date Of Final Report (TFR):              05/15/2021                 /s/ BETH ANN SCHARRER
                                                                                                                                                                                    BETH ANN SCHARRER
                                                         Case 8:15-bk-10966-MGW                Doc 356 2Filed 09/23/21
                                                                                                FORM                                      Page 23 of 32                       Page No: 1                   Exhibit 9
                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                            Trustee Name:                             Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                                        Bank Name:                                UNION BANK
Primary Taxpayer ID #:             **-***5067                                                                                              Checking Acct #:                          ******5687
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:
For Period Beginning:              10/30/2015                                                                                              Blanket bond (per case limit):            $24,397,000.00
For Period Ending:                 9/3/2021                                                                                                Separate bond (if applicable):

       1                2                                 3                                              4                                                         5                       6                       7

   Transaction       Check /                          Paid to/                   Description of Transaction                                 Uniform           Deposit              Disbursement                 Balance
      Date            Ref. #                       Received From                                                                           Tran Code            $                       $


01/20/2016            (16)     LIBERTY MUTUAL                             REFUND                                                            1229-000               $879.00                                              $879.00
01/20/2016            (17)     GERALD A & KAREN A                         2015 YEAR END GRANT                                               1229-000             $1,000.00                                             $1,879.00
                               KOLSCHOWSKY FOUNDATIONOI INC
02/24/2016            (7)      BENTLEY BRUNING TRUST ACCOUNT              Trust account                                                     1129-000             $9,189.57                                         $11,068.57
02/26/2016            101      E-HOUNDS, INC                              RETAINER PER COURT ORDER DATED 02/25/16                           2990-000                                           $3,500.00               $7,568.57
                                                                          DKT 45
02/26/2016            102      MOEKER AUCTIONS, INC.                      PER ORDER DATED 02/25/2016 INVOICE 16-106.                        3711-000                                           $1,050.00               $6,518.57
                                                                          Docket 45
03/25/2016                     Union Bank                                 Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)           2600-000                                             $15.00                $6,503.57
                                                                          (1), and 507(a)(2)
04/25/2016                     Union Bank                                 Bank Service Fee under 11 U.S.C. § 330(a)(1)(B), 503(b)           2600-000                                             $15.00                $6,488.57
                                                                          (1), and 507(a)(2)
05/06/2016                     Estate of the Health Support Network Inc   Closure of Account 5687                                           9999-000                                           $6,488.57                  $0.00

                                                                                            TOTALS:                                                              $11,068.57                $11,068.57                     $0.00
                                                                                                Less: Bank transfers/CDs                                              $0.00                 $6,488.57
                                                                                            Subtotal                                                             $11,068.57                 $4,580.00
                                                                                                Less: Payments to debtors                                             $0.00                     $0.00
                                                                                            Net                                                                  $11,068.57                 $4,580.00



                     For the period of 10/30/2015 to 9/3/2021                                                           For the entire history of the account between 08/11/2016 to 9/3/2021

                     Total Compensable Receipts:                           $11,068.57                                   Total Compensable Receipts:                                    $11,068.57
                     Total Non-Compensable Receipts:                            $0.00                                   Total Non-Compensable Receipts:                                     $0.00
                     Total Comp/Non Comp Receipts:                         $11,068.57                                   Total Comp/Non Comp Receipts:                                  $11,068.57
                     Total Internal/Transfer Receipts:                          $0.00                                   Total Internal/Transfer Receipts:                                   $0.00


                     Total Compensable Disbursements:                       $4,580.00                                   Total Compensable Disbursements:                                   $4,580.00
                     Total Non-Compensable Disbursements:                       $0.00                                   Total Non-Compensable Disbursements:                                   $0.00
                     Total Comp/Non Comp Disbursements:                     $4,580.00                                   Total Comp/Non Comp Disbursements:                                 $4,580.00
                     Total Internal/Transfer Disbursements:                 $6,488.57                                   Total Internal/Transfer Disbursements:                             $6,488.57
                                                        Case 8:15-bk-10966-MGW                Doc 356 2Filed 09/23/21
                                                                                               FORM                                       Page 24 of 32                    Page No: 2                   Exhibit 9
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                           Trustee Name:                           Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                                       Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***5067                                                                                             Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:
For Period Beginning:              10/30/2015                                                                                             Blanket bond (per case limit):          $24,397,000.00
For Period Ending:                 9/3/2021                                                                                               Separate bond (if applicable):

       1                2                                  3                                              4                                                     5                       6                       7

   Transaction       Check /                           Paid to/                 Description of Transaction                                 Uniform            Deposit           Disbursement                 Balance
      Date            Ref. #                        Received From                                                                         Tran Code             $                    $


05/17/2016                     Union Bank                               transfer from Union Bank                                           9999-000           $6,488.57                                             $6,488.57
05/17/2016            (14)     Aetna Foundation, Inc.                   turnover of funds from matching grant                              1229-000             $436.80                                             $6,925.37
06/02/2016                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $4.69                $6,920.68
07/05/2016                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                           $10.81                $6,909.87
08/02/2016                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                           $11.15                $6,898.72
08/05/2016            101      Southern Document Services (SDS)         See doc. 45, 103                                                   2990-000                                         $2,114.79               $4,783.93
08/05/2016            102      E-Hounds, Inc.                           See doc. 45, 103                                                   2990-000                                         $1,650.00               $3,133.93
08/31/2016            (15)     Stifel Nicolaus                          turnover of funds due to estate                                    1229-000              $21.53                                             $3,155.46
09/02/2016                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $9.16                $3,146.30
10/04/2016                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.22                $3,138.08
11/02/2016                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $5.73                $3,132.35
11/14/2016            (13)     Moecker Auctions, Inc.                   Doc. no. 118, 120. Auction of artwork.                             1129-000           $2,235.50                                             $5,367.85
12/02/2016                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $6.75                $5,361.10
01/04/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.65                $5,352.45
02/02/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.64                $5,343.81
03/03/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $7.79                $5,336.02
04/04/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.61                $5,327.41
05/02/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.32                $5,319.09
06/02/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.58                $5,310.51
07/05/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.29                $5,302.22
08/02/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                            $8.56                $5,293.66
09/05/2017                     Pinnacle Bank                            Pinnacle Analysis                                                  2600-000                                           $17.09                $5,276.57
09/08/2017                     The Cincinnati Insurance Company         payment per compromise. See docs. 187, 199                            *            $1,700,000.00                                     $1,705,276.57
                      {1}                                                                                                 $1,675,000.00    1249-000                                                          $1,705,276.57
                      {1}                                                                                                    $25,000.00    1280-002                                                          $1,705,276.57
09/22/2017            103      Estate of Brides Against Breast Cancer   Allocation of settlement funds to related case. See Doc.           8500-002                                      $25,000.00          $1,680,276.57
                                                                        199
09/23/2017            104      Genovese Joblove & Battista, PA          See doc. 206                                                       3210-000                                     $264,456.25          $1,415,820.32

                                                                                                                                          SUBTOTALS        $1,709,182.40            $293,362.08
                                                        Case 8:15-bk-10966-MGW                   Doc 356 2Filed 09/23/21
                                                                                                  FORM                            Page 25 of 32                    Page No: 3                    Exhibit 9
                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                   Trustee Name:                           Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                               Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***5067                                                                                     Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:
For Period Beginning:              10/30/2015                                                                                     Blanket bond (per case limit):          $24,397,000.00
For Period Ending:                 9/3/2021                                                                                       Separate bond (if applicable):

       1                2                                 3                                               4                                            5                        6                        7

   Transaction       Check /                          Paid to/                    Description of Transaction                       Uniform           Deposit            Disbursement                  Balance
      Date            Ref. #                       Received From                                                                  Tran Code            $                     $


09/23/2017            105      Genovese Joblove & Battista, PA             See doc. 206                                            3210-000                                      $16,431.16           $1,399,389.16
09/23/2017            106      Jennis Law Firm                             See Doc. 206                                            3220-000                                          $142.21          $1,399,246.95
09/23/2017            107      Jennis & Bowen, P.A.                        See Doc. 206                                            3220-000                                          $246.38          $1,399,000.57
09/23/2017            108      Ver Ploeg & Lumpkin, PA                     See doc. 206                                            3210-000                                     $151,087.50           $1,247,913.07
09/23/2017            109      Ver Ploeg & Lumpkin, PA                     See Doc. 206                                            3220-000                                         $1,416.04         $1,246,497.03
09/26/2017            110      Jennis Law Firm, P.A. Trust Account         To be held in trust by JLF, PA FBO JLF PA & JB, PA      3210-000                                     $264,456.25             $982,040.78
                                                                           (R.V. Williams, Receiver). See doc. 206
10/03/2017                     Pinnacle Bank                               Pinnacle Analysis                                       2600-000                                         $1,628.07           $980,412.71
10/04/2017                     Pinnacle Bank                               Refund on August bank fee posted 9/5/2017 - the fees    2600-000                                            ($8.55)          $980,421.26
                                                                           were posted for the incorrect amount
10/04/2017            111      WGK-ADR Mediators and Arbitrators           See Doc. 162. Par. 5(I), 211                            3721-000                                         $3,200.00           $977,221.26
11/02/2017                     Pinnacle Bank                               Pinnacle Analysis                                       2600-000                                         $1,579.07           $975,642.19
12/04/2017                     Pinnacle Bank                               Pinnacle Analysis                                       2600-000                                         $1,524.03           $974,118.16
01/08/2018                     Pinnacle Bank                               Pinnacle Analysis                                       2600-000                                         $1,572.46           $972,545.70
01/12/2018            112      GlassRatner Advisory & Capital Group,       Docs. 244, 252.                                         3410-000                                      $84,441.60             $888,104.10
                               LLC
01/12/2018            113      GlassRatner Advisory & Capital Group,       Docs. 244, 252.                                         3420-000                                          $103.13            $888,000.97
                               LLC
02/02/2018            114      Robert V. Williams (Receiver for Jennis &   See Docs. 260, 266                                      3210-000                                      $43,266.50             $844,734.47
                               Bowen PA)
02/02/2018            115      Robert V. Williams (Receiver for Jennis &   See Docs. 260, 266                                      3220-000                                          $676.50            $844,057.97
                               Bowen PA)
02/02/2018            116      Jennis Law Firm                             See Docs. 259, 263                                      3210-000                                      $23,853.50             $820,204.47
02/02/2018            117      Jennis Law Firm                             See Docs. 259, 263                                      3220-000                                          $664.87            $819,539.60
02/02/2018            118      Moecker Auctions, Inc.                      See docs. 256, 262                                      3610-000                                          $265.50            $819,274.10
02/02/2018            119      Moecker Auctions, Inc.                      See Docs. 256, 262                                      3610-000                                          $600.00            $818,674.10
02/06/2018                     Pinnacle Bank                               Pinnacle Analysis                                       2600-000                                         $1,543.85           $817,130.25
03/05/2018                     Pinnacle Bank                               Pinnacle Analysis                                       2600-000                                         $1,206.26           $815,923.99


                                                                                                                                  SUBTOTALS                $0.00            $599,896.33
                                                         Case 8:15-bk-10966-MGW                Doc 356 2Filed 09/23/21
                                                                                                FORM                               Page 26 of 32                    Page No: 4                   Exhibit 9
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                    Trustee Name:                           Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                                Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***5067                                                                                      Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:              10/30/2015                                                                                      Blanket bond (per case limit):          $24,397,000.00
For Period Ending:                 9/3/2021                                                                                        Separate bond (if applicable):

       1                2                                 3                                              4                                              5                        6                       7

   Transaction       Check /                            Paid to/                Description of Transaction                          Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                         Received From                                                                 Tran Code            $                     $


03/30/2018                     Pinnacle Bank                             Pinnacle Analysis                                          2600-000                                         $1,316.92          $814,607.07
04/30/2018                     Pinnacle Bank                             Pinnacle Analysis                                          2600-000                                         $1,272.13          $813,334.94
05/31/2018                     Pinnacle Bank                             Pinnacle Analysis                                          2600-000                                         $1,312.48          $812,022.46
06/29/2018                     Pinnacle Bank                             Pinnacle Analysis                                          2600-000                                         $1,268.09          $810,754.37
07/17/2018            120      Andrea P. Bauman                          Doc. 304                                                   2100-000                                          $928.43           $809,825.94
07/17/2018            121      Beth Ann Scharrer                         Doc. 304                                                   2100-000                                      $68,796.23            $741,029.71
07/17/2018            122      Carl Ritter                               Doc. 304                                                   5300-000                                         $9,713.68          $731,316.03
07/17/2018            123      Pitney Bowes Global Financial Services    Doc. 304                                                   7100-000                                          $128.81           $731,187.22
07/17/2018            124      Jani King Cleaners                        Doc. 304                                                   7100-000                                          $223.45           $730,963.77
07/17/2018            125      Penske Truck Leasing Co, L.P.             Doc. 304                                                   7100-000                                         $2,130.31          $728,833.46
07/17/2018            126      Stan Heinz                                Doc. 304                                                   7100-000                                          $196.79           $728,636.67
07/17/2018            127      Capital One Bank (USA), N.A.              Doc. 304                                                   7100-000                                          $218.50           $728,418.17
07/17/2018            128      Palm Printing                             Doc. 304                                                   7100-000                                          $428.23           $727,989.94
07/17/2018            129      American InfoSource LP as agent for       Doc. 304                                                   7100-000                                           $47.32           $727,942.62
07/17/2018            130      Ward Group PR, Inc.                       Doc. 304                                                   7100-00                                          $2,768.28          $725,174.34
07/17/2018            131      U.S. Bank Equipment Finance               Doc. 304                                                   7100-000                                         $7,764.84          $717,409.50
07/17/2018            132      Aqua Plumbing Services, Inc.              Doc. 304                                                   7100-000                                          $160.43           $717,249.07
07/17/2018            133      Michael's on East - Catering & Ballroom   Doc. 304                                                   7100-000                                          $257.18           $716,991.89
07/17/2018            134      Carl Ritter                               Doc. 304                                                   7100-000                                     $437,707.83            $279,284.06
07/17/2018            135      BMO Harris Bank, N.A.                     Doc. 304                                                   7100-000                                     $105,762.24            $173,521.82
07/17/2018            135      VOID: BMO Harris Bank, N.A.                                                                          7100-003                                 ($105,762.24)              $279,284.06
07/17/2018            136      Florida Power and Light                   Doc. 304                                                   7100-000                                          $413.37           $278,870.69
07/17/2018            137      BMO Harris Bank, N.A.                     Doc. No. 304. Replaces check 135.                          7100-000                                     $105,762.24            $173,108.45
07/18/2018                     United States Treasury                    Tax withholding on claim 24 (priority portion). Federal    5800-000                                         $4,119.35          $168,989.10
                                                                         w/h $2,153.30, SS (12.4%) $1,593.40, Medicare (2.9%)
                                                                         $372.65.. Electronic payment (see also voided check
                                                                         138)


                                                                                                                                   SUBTOTALS                $0.00            $646,934.89
                                                        Case 8:15-bk-10966-MGW              Doc 356 2Filed 09/23/21
                                                                                             FORM                                         Page 27 of 32                    Page No: 5                   Exhibit 9
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                           Trustee Name:                           Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                                       Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***5067                                                                                             Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:
For Period Beginning:              10/30/2015                                                                                             Blanket bond (per case limit):          $24,397,000.00
For Period Ending:                 9/3/2021                                                                                               Separate bond (if applicable):

       1                2                                  3                                           4                                                         5                      6                       7

   Transaction       Check /                            Paid to/              Description of Transaction                                   Uniform            Deposit           Disbursement                 Balance
      Date            Ref. #                         Received From                                                                        Tran Code             $                    $


07/18/2018                     United States Treasury                 Tax withholding on claim 24 (wage portion of unsecured               5800-000                                     $32,814.73             $136,174.37
                                                                      claim). Federal w/h $21,558.07, SS (12.4%) $9,123.04,
                                                                      Medicare (2.9%) $2,133.62. Replaces voided check 139.
07/18/2018                     United States Treausry                 FUTA. Replaces voided check 140                                      5800-000                                           $42.00           $136,132.37
07/18/2018            138      United States Treasury                 Tax withholding on claim 24 (priority portion). Federal              5800-003                                         $4,119.35          $132,013.02
                                                                      w/h $2,153.30, SS (12.4%) $1,593.40, Medicare (2.9%)
                                                                      $372.65.
07/18/2018            138      VOID: United States Treasury                                                                                5800-003                                      ($4,119.35)           $136,132.37
07/18/2018            139      United States Treasury                 Tax withholding on claim 24 (wage portion of unsecured               5800-003                                     $32,814.73             $103,317.64
                                                                      claim). Federal w/h $21,558.07, SS (12.4%) $9,123.04,
                                                                      Medicare (2.9%) $2,133.62.
07/18/2018            139      VOID: United States Treasury                                                                                5800-003                                     ($32,814.73)           $136,132.37
07/18/2018            140      United States Treasury                 FUTA                                                                 5800-003                                           $42.00           $136,090.37
07/18/2018            140      VOID: United States Treasury                                                                                5800-003                                          ($42.00)          $136,132.37
07/31/2018                     Pinnacle Bank                          Pinnacle Analysis                                                    2600-000                                          $985.95           $135,146.42
08/20/2018            130      VOID: Ward Group PR, Inc.                                                                                   7100-00                                       ($2,768.28)           $137,914.70
08/20/2018            141      Ward Group PR, Inc.                    Doc. 304. Check reissued b/c creditor did not receive                7100-000                                         $2,768.28          $135,146.42
                                                                      original check.
08/31/2018                     Pinnacle Bank                          Pinnacle Analysis                                                    2600-000                                          $222.36           $134,924.06
10/08/2018            142      Florida U.C. Fund                      State of Florida Reemployment Tax. Doc. 304                          5800-000                                          $378.00           $134,546.06
02/19/2019            143      WGK-ADR Mediators and Arbitrators      See Doc. 257.                                                        3721-000                                         $1,400.00          $133,146.06
07/29/2019                     State Auto Insurance Company           Payment per compromise. Doc. Nos. 328, 329.                             *              $195,000.00                                       $328,146.06
                      {18}                                                                                               $192,000.00       1249-000                                                            $328,146.06
                      {18}                                            Portion of settlement to be paid to related             $3,000.00    1280-002                                                            $328,146.06
                                                                      case.
07/29/2019            144      Brides Against Breast Cancer           Portion of settlement funds allocated to BABC case per               8500-002                                         $3,000.00          $325,146.06
                                                                      Doc. Nos. 328, 329.
08/09/2019            145      Jennis Law Firm                        Doc. 329.                                                            3210-000                                     $16,800.00             $308,346.06
08/09/2019            146      Cimo, Mazer Mark PLLC                  Doc. No. 333                                                         3210-000                                     $36,590.40             $271,755.66


                                                                                                                                          SUBTOTALS          $195,000.00                $92,233.44
                                                        Case 8:15-bk-10966-MGW                    Doc 356 2Filed 09/23/21
                                                                                                   FORM                                 Page 28 of 32                    Page No: 6                   Exhibit 9
                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                         Trustee Name:                           Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                                     Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***5067                                                                                           Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:
For Period Beginning:              10/30/2015                                                                                           Blanket bond (per case limit):          $24,397,000.00
For Period Ending:                 9/3/2021                                                                                             Separate bond (if applicable):

       1                2                                  3                                                4                                                  5                      6                       7

   Transaction       Check /                           Paid to/                    Description of Transaction                            Uniform            Deposit           Disbursement                 Balance
      Date            Ref. #                        Received From                                                                       Tran Code             $                    $


08/09/2019            147      Genovese Joblove & Battista, PA              Doc. 333.                                                    3210-000                                     $13,809.60             $257,946.06
02/19/2020            (20)     Ken Burke                                    Restitution from Randall Sheets (sold pianos - including     1229-000            $1,186.00                                       $259,132.06
                                                                            piano that is property of the estate - out of trust).
                                                                            Received check following criminal proceedings filed by
                                                                            the State of Florida against Mr. Sheets. See Docs. 49, 51
03/26/2020            (20)     Ken Burke                                    Additional restitution funds. See Docs. 49, 51               1229-000              $45.54                                        $259,177.60
05/06/2020            (20)     Ken Burke, Clerk of Cirtuit Court Pinellas   Additional restitution funds. See Docs. 49, 51               1229-000              $11.40                                        $259,189.00
                               County
05/20/2020            (20)     Ken Burke, Clerk of the Circuit Court.       Additional restitution funds. See Docs. 49, 51               1229-000              $11.40                                        $259,200.40
07/31/2020                     Pinnacle Bank                                Service Charge                                               2600-000                                         $4,536.00          $254,664.40
08/03/2020                     Pinnacle Bank                                Service Charge                                               2600-000                                     ($4,536.00)            $259,200.40
08/03/2020                     Pinnacle Bank                                Service Charge                                               2600-000                                          $372.82           $258,827.58
08/31/2020                     Pinnacle Bank                                Service Charge                                               2600-000                                          $384.72           $258,442.86
09/14/2020            (20)     Ken Burke, Clerk of Circuit Court            Turnover of additional funds. Docs. 49, 51. Note: check      1229-000              $22.64                                        $258,465.50
                                                                            dated 8/13/20. Envelope postmarked 9/3/20
09/15/2020            (22)     Auto Club Ins. company of Florida            Partial payment per compromise. Doc. 334, 338.               1249-000           $47,868.50                                       $306,334.00
09/21/2020            (22)     Philadelphia Indemnity Insurance Company     Payment per compromise. Docs. 334, 338                       1249-000          $116,763.00                                       $423,097.00
09/21/2020            (22)     The Cincinnati Ins. Company                  Payment per compromise. Docs. 334, 338                       1249-000           $75,000.00                                       $498,097.00
09/30/2020                     Pinnacle Bank                                Service Charge                                               2600-000                                          $498.13           $497,598.87
10/02/2020            (22)     The Cincinnati Insurance Company             Payment per comproimse. Docs. 334, 338, Final                1249-000           $22,868.50                                       $520,467.37
                                                                            payment.
10/02/2020            148      Burnett Law (f/k/a Burnett Wilson Reeder)    Docs. 336, 340.                                              3210-000                                     $52,500.00             $467,967.37
10/02/2020            149      Burnett Law (f/k/a Burnett Wilson Reeder)    See Docs. 336, 340.                                          3220-000                                     $26,529.67             $441,437.70
10/02/2020            150      Jennis Law Firm                              Doc. No. 339                                                 3220-000                                           $14.96           $441,422.74
10/02/2020            151      Jennis Law Firm                              Doc. No. 339                                                 3210-000                                     $52,500.00             $388,922.74
10/27/2020            (20)     Ken Burke                                    Restitution. Docs. 49, 51                                    1229-000              $22.72                                        $388,945.46
10/30/2020                     Pinnacle Bank                                Service Charge                                               2600-000                                          $630.77           $388,314.69
11/30/2020                     Pinnacle Bank                                Service Charge                                               2600-000                                          $558.55           $387,756.14


                                                                                                                                        SUBTOTALS          $263,799.70            $147,799.22
                                                        Case 8:15-bk-10966-MGW               Doc 356 2Filed 09/23/21
                                                                                              FORM                                       Page 29 of 32                     Page No: 7                   Exhibit 9
                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                          Trustee Name:                            Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                                      Bank Name:                               Pinnacle Bank
Primary Taxpayer ID #:             **-***5067                                                                                            Checking Acct #:                         ******0407
Co-Debtor Taxpayer ID #:                                                                                                                 Account Title:
For Period Beginning:              10/30/2015                                                                                            Blanket bond (per case limit):           $24,397,000.00
For Period Ending:                 9/3/2021                                                                                              Separate bond (if applicable):

       1                2                                 3                                            4                                                      5                         6                       7

   Transaction       Check /                            Paid to/               Description of Transaction                                 Uniform           Deposit             Disbursement                 Balance
      Date            Ref. #                         Received From                                                                       Tran Code            $                      $


12/31/2020                     Pinnacle Bank                            Service Charge                                                    2600-000                                           $576.36           $387,179.78
01/29/2021                     Pinnacle Bank                            Service Charge                                                    2600-000                                           $575.50           $386,604.28
02/03/2021            (20)     Ken Burke, Clerk of the Circuit Court    Restitution. Docs. 49, 51                                         1229-000             $11.32                                          $386,615.60
02/26/2021                     Pinnacle Bank                            Service Charge                                                    2600-000                                           $519.03           $386,096.57
03/31/2021                     Pinnacle Bank                            Service Charge                                                    2600-000                                           $573.89           $385,522.68
04/02/2021            152      Archive Corporation                      Re: Doc. No. 343, 345. Post-petition storage and then             2410-000                                          $1,085.89          $384,436.79
                                                                        shredding of files.
04/08/2021            (20)     Ken Burke, Clerk of the Circuit Court    Restitution payment. Docs. 49, 51                                 1229-000             $14.90                                          $384,451.69
04/15/2021            (20)     Ken Burke                                Restitution payment. Docs. 49, 51                                 1229-000             $11.32                                          $384,463.01
04/30/2021                     Pinnacle Bank                            Service Charge                                                    2600-000                                           $553.24           $383,909.77
05/28/2021            (20)     Ken Burke, Clerk of the Circuit Court    Restitution payment. Docs. 49, 51                                 1229-000             $11.32                                          $383,921.09
05/28/2021                     Ward Group PR, Inc.                      Refund of projected overpayment to creditor.                      7100-000                                      ($2,768.28)            $386,689.37
05/28/2021                     Pinnacle Bank                            Service Charge                                                    2600-000                                           $570.64           $386,118.73
07/30/2021            153      Beth Ann Scharrer                        Trustee Compensation Trustee Expenses                                *                                          $21,708.70             $364,410.03
                                                                        Claim Amount                                      $(17,863.67)    2100-000                                                             $364,410.03
                                                                        Claim Amount                                       $(3,845.03)    2200-000                                                             $364,410.03
07/30/2021            154      Jennis Morse Etlinger                    Claim #: ; Account Number: ; Distribution Dividend:                  *                                          $15,497.05             $348,912.98
                                                                        100.00; Claim #: ; Account Number: ; Distribution
                                                                        Dividend: 100.00;
                                                                        Claim Amount                                        $(432.69)     3220-000                                                             $348,912.98
                                                                        Claim Amount                                      $(15,064.36)    3210-000                                                             $348,912.98
07/30/2021            155      GlassRatner Advisory & Capital Group,    Claim #: ; Account Number: ; Distribution Dividend:                  *                                          $43,674.00             $305,238.98
                               LLC                                      100.00; Claim #: ; Account Number: ; Distribution
                                                                        Dividend: 100.00;
                                                                        Claim Amount                                        $(479.00)     3420-000                                                             $305,238.98
                                                                        Claim Amount                                      $(43,195.00)    3410-000                                                             $305,238.98
07/30/2021            156      Pitney Bowes Global Financial Services   Claim #: 2; Account Number: 8005; Distribution                    7100-000                                            $62.65           $305,176.33
                                                                        Dividend: 19.35;



                                                                                                                                         SUBTOTALS                $48.86                $82,628.67
                                                         Case 8:15-bk-10966-MGW               Doc 356 2Filed 09/23/21
                                                                                               FORM                              Page 30 of 32                    Page No: 8                   Exhibit 9
                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          15-10966-MGW                                                                                  Trustee Name:                           Beth Ann Scharrer
 Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                              Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:             **-***5067                                                                                    Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:              10/30/2015                                                                                    Blanket bond (per case limit):          $24,397,000.00
For Period Ending:                 9/3/2021                                                                                      Separate bond (if applicable):

       1                2                                 3                                             4                                             5                        6                       7

   Transaction       Check /                           Paid to/                 Description of Transaction                        Uniform           Deposit            Disbursement                 Balance
      Date            Ref. #                        Received From                                                                Tran Code            $                     $


07/30/2021            157      Jani King Cleaners                        Claim #: 7; Account Number: 7719; Distribution           7100-000                                          $108.67           $305,067.66
                                                                         Dividend: 19.35;
07/30/2021            158      Penske Truck Leasing Co, L.P.             Claim #: 8; Account Number: 2846; Distribution           7100-000                                         $1,035.92          $304,031.74
                                                                         Dividend: 19.35;
07/30/2021            159      Stan Heinz                                Claim #: 9; Account Number: ; Distribution Dividend:     7100-000                                           $95.70           $303,936.04
                                                                         19.35;
07/30/2021            160      Capital One Bank (USA), N.A.              Claim #: 10; Account Number: 6787; Distribution          7100-000                                          $106.25           $303,829.79
                                                                         Dividend: 19.35;
07/30/2021            161      Palm Printing                             Claim #: 11; Account Number: ; Distribution Dividend:    7100-000                                          $208.23           $303,621.56
                                                                         19.35;
07/30/2021            162      American InfoSource LP as agent for       Claim #: 16; Account Number: ; Distribution Dividend:    7100-000                                           $23.00           $303,598.56
                                                                         19.35;
07/30/2021            163      U.S. Bank Equipment Finance               Claim #: 19; Account Number: ; Distribution Dividend:    7100-000                                         $3,775.83          $299,822.73
                                                                         19.35;
07/30/2021            164      Aqua Plumbing Services, Inc.              Claim #: 22; Account Number: ; Distribution Dividend:    7100-000                                           $78.01           $299,744.72
                                                                         19.35;
07/30/2021            165      Michael's on East - Catering & Ballroom   Claim #: 23; Account Number: ; Distribution Dividend:    7100-000                                          $125.06           $299,619.66
                                                                         19.35;
07/30/2021            166      Carl Ritter                               Claim #: 24; Account Number: ; Distribution Dividend:    7100-000                                     $247,989.50             $51,630.16
                                                                         19.35;
07/30/2021            167      BMO Harris Bank, N.A.                     Claim #: 26; Account Number: ; Distribution Dividend:    7100-000                                      $51,429.15                 $201.01
                                                                         19.35;
07/30/2021            168      Florida Power and Light                   Claim #: 28; Account Number: ; Distribution Dividend:    7100-000                                          $201.01                   $0.00
                                                                         19.35;




                                                                                                                                 SUBTOTALS                $0.00            $305,176.33
                                                         Case 8:15-bk-10966-MGW            Doc 356 2Filed 09/23/21
                                                                                            FORM                                   Page 31 of 32                     Page No: 9                 Exhibit 9
                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          15-10966-MGW                                                                                      Trustee Name:                           Beth Ann Scharrer
Case Name:                        THE HEALTH SUPPORT NETWORK, INC.                                                                  Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:            **-***5067                                                                                        Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             10/30/2015                                                                                        Blanket bond (per case limit):          $24,397,000.00
For Period Ending:                9/3/2021                                                                                          Separate bond (if applicable):

      1                 2                                 3                                          4                                                    5                       6                     7

  Transaction        Check /                          Paid to/               Description of Transaction                              Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                       Received From                                                                    Tran Code            $                     $


                                                                                       TOTALS:                                                       $2,168,030.96           $2,168,030.96                     $0.00
                                                                                           Less: Bank transfers/CDs                                      $6,488.57                   $0.00
                                                                                       Subtotal                                                      $2,161,542.39           $2,168,030.96
                                                                                           Less: Payments to debtors                                         $0.00                   $0.00
                                                                                       Net                                                           $2,161,542.39           $2,168,030.96



                     For the period of 10/30/2015 to 9/3/2021                                                    For the entire history of the account between 05/03/2016 to 9/3/2021

                     Total Compensable Receipts:                    $2,133,542.39                                Total Compensable Receipts:                               $2,133,542.39
                     Total Non-Compensable Receipts:                   $28,000.00                                Total Non-Compensable Receipts:                              $28,000.00
                     Total Comp/Non Comp Receipts:                  $2,161,542.39                                Total Comp/Non Comp Receipts:                             $2,161,542.39
                     Total Internal/Transfer Receipts:                  $6,488.57                                Total Internal/Transfer Receipts:                             $6,488.57


                     Total Compensable Disbursements:               $2,140,030.96                                Total Compensable Disbursements:                          $2,140,030.96
                     Total Non-Compensable Disbursements:              $28,000.00                                Total Non-Compensable Disbursements:                         $28,000.00
                     Total Comp/Non Comp Disbursements:             $2,168,030.96                                Total Comp/Non Comp Disbursements:                        $2,168,030.96
                     Total Internal/Transfer Disbursements:                 $0.00                                Total Internal/Transfer Disbursements:                            $0.00
                                                         Case 8:15-bk-10966-MGW            Doc 356 2Filed 09/23/21
                                                                                            FORM                                Page 32 of 32                     Page No: 10                Exhibit 9
                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         15-10966-MGW                                                                                    Trustee Name:                           Beth Ann Scharrer
Case Name:                       THE HEALTH SUPPORT NETWORK, INC.                                                                Bank Name:                              Pinnacle Bank
Primary Taxpayer ID #:           **-***5067                                                                                      Checking Acct #:                        ******0407
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:
For Period Beginning:            10/30/2015                                                                                      Blanket bond (per case limit):          $24,397,000.00
For Period Ending:               9/3/2021                                                                                        Separate bond (if applicable):

      1                 2                                 3                                          4                                                  5                   6                        7

  Transaction        Check /                         Paid to/                Description of Transaction                           Uniform            Deposit           Disbursement               Balance
     Date             Ref. #                      Received From                                                                  Tran Code             $                    $




                                                                                                                                                                                 NET                ACCOUNT
                                                                                       TOTAL - ALL ACCOUNTS                               NET DEPOSITS                      DISBURSE               BALANCES

                                                                                                                                                  $2,172,610.96         $2,172,610.96                       $0.00




                     For the period of 10/30/2015 to 9/3/2021                                                 For the entire history of the case between 10/30/2015 to 9/3/2021

                     Total Compensable Receipts:                     $2,144,610.96                            Total Compensable Receipts:                               $2,144,610.96
                     Total Non-Compensable Receipts:                    $28,000.00                            Total Non-Compensable Receipts:                              $28,000.00
                     Total Comp/Non Comp Receipts:                   $2,172,610.96                            Total Comp/Non Comp Receipts:                             $2,172,610.96
                     Total Internal/Transfer Receipts:                   $6,488.57                            Total Internal/Transfer Receipts:                             $6,488.57


                     Total Compensable Disbursements:                $2,144,610.96                            Total Compensable Disbursements:                          $2,144,610.96
                     Total Non-Compensable Disbursements:               $28,000.00                            Total Non-Compensable Disbursements:                         $28,000.00
                     Total Comp/Non Comp Disbursements:              $2,172,610.96                            Total Comp/Non Comp Disbursements:                        $2,172,610.96
                     Total Internal/Transfer Disbursements:              $6,488.57                            Total Internal/Transfer Disbursements:                        $6,488.57




                                                                                                                              /s/ BETH ANN SCHARRER
                                                                                                                              BETH ANN SCHARRER
